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                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA


                                                               )
                                                               )
          TIMOTHY JENKINS, ET AL.,                             )
                                                               )
                            Plaintiff,                         )
                                                               )   Case Action No.:_________
                      v.                                       )   Judge:__________________
                                                               )
          THE HOWARD UNIVERSITY, ET AL.,                       )
                                                               )
                            Defendants                         )
                                                               )

                                             NOTICE OF REMOVAL

            Pursuant to 28 U.S.C. §1331, 1441 and 1446, Defendants, by and through their undersigned

counsel, respectfully notify this Court that they have removed the action styled Jenkins v. Howard

University, Case No. 2021-CA-004729B (the “State Court Action”) from the Superior Court of

the District of Columbia (the “State Court”) to the United States District Court for the District of

Columbia. In support of this Notice of Removal, Defendants state as follows:

                                                      PARTIES

            1.           Defendant The Howard University (the “University”)1 is a federally chartered non-

profit educational institution originally organized by an act of the United States Congress. See 14

Stat. 438. The University is a creature of federal law and it has not opted into the non-profit laws

of the District of Columbia or of any state. See D.C. Code Mun. Regs. §17-705.4.

            2.           In granting a federal charter that created the University, Congress declared that the

University would be “a body politic and corporate, with perpetual succession in deed or in law to

all intents and purposes whatsoever. . .” See 14 Stat. 438, Sec. 2. Congress further provided that


1
  The University is incorrectly identified as “The Howard University, Inc.” in both Plaintiffs’
complaint and the amended complaint. To Defendants’ knowledge, no such entity exists.


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the “government of the university shall be vested in a board of trustees” who were granted authority

to “enact by-Laws, not inconsistent with the laws of the United States, regulating the government

of the corporation.” Id. at Sec. 3, 4. The charter further provides that: “all meetings of. . . [the]

Board [of Trustees] may be called in such a manner as the trustees shall prescribe. . .” Id. at Sec.

4.

          3.    Defendants also include the following alleged individual members of the

University’s Board of Trustees (the “Board”): Laurence C. Morse, Leslie D. Hale, Mark A.L.

Mason, Minnie Baylor-Henry, Charles Boyd, Chris Carr, Donald B. Christian, Godfrey Gill, Dr.

Richard Goodman, Marie C. Johns, Jill B. Lewis, James T. Murren, Hillary Rosen, Reed Tuckson,

Chris Washington, Danette G. Howard, Alphonso Jackson, Ronald Rosenfeld, Shelby Stewart Jr.

and Bernice P. Wiley (collectively, the “Trustee Defendants”). See Amended Complaint, Exh. A

at ¶14.

          4.    Plaintiffs allege that they are individual alumni of the University. None of the

Plaintiffs are alleged to be current faculty or employees of the University, or current members of

the Board, or even acting on behalf of the University’s Alumni Association. See Exh. A at ¶¶2-

11.

                                         BACKGROUND

          5.    Plaintiffs commenced this action by filing a complaint on or about December 16,

2021 in the State Court. In their original complaint, Plaintiffs asserted a single cause of action

seeking a declaratory judgement calling for an interpretation of the University’s internal

governance documents.       Specifically, Plaintiffs alleged that certain votes by the Trustee

Defendants—including votes for the election of members of the Board of Trustees—violated




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various provisions of the University’s bylaws. See Complaint, Exh. B at ¶¶ 75-82. See also The

Howard University Bylaws of the Board of Trustees, amended October 26, 2018, Exh. C.

         6.    On or about February 14, 2022, Plaintiffs allegedly filed an amended pleading in

the State Court (the “Amended Complaint”). The Amended Complaint essentially repeats the

allegations of the original complaint and adds an additional cause of action alleging that the Trustee

Defendants breached fiduciary duties they allegedly owed to the University by taking actions

previously alleged in the original complaint to violate the University’s bylaws. See Exh. A at ¶¶

91-98.

         7.    As reflected in the e-mail correspondence attached hereto as Exhibit D, Plaintiffs

effected service on March 2, 2022 by providing Defendants’ counsel with the original complaint,

the amended complaint and summons for some (but not all) of the Trustee Defendants.2 True and

correct copies of all papers served upon Defendants’ counsel on that date are attached hereto as

Exhibit E.

         8.    On March 2, 2022, the State Court entered an order extending the deadline for

Plaintiffs to effect service, scheduling an initial conference, and providing that Defendants would

respond to Plaintiffs’ initial pleading by May 2, 2022. See Exh. F. There have been no other

proceedings in the State Court and none of the Defendants have entered an appearance in that case.

To date, Defendants have not responded to the Complaint or Amended Complaint; they will do so

before the May 2 deadline set forth in the State Court’s order. A copy of the State Court docket

is attached hereto as Exhibit G.




2
    Although Plaintiffs did not serve a summons for each of the Trustee Defendants, counsel for
Defendants accepted service on behalf of all Defendants to facilitate the efficient progress of this
litigation.
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                             FEDERAL QUESTION JURISDICTION

        9.      This case is removable on the basis of federal question jurisdiction. Under 28

U.S.C. §1331, federal district courts “have original jurisdiction of all civil actions arising under

the Constitution, laws, or treaties of the United States.”

        10.     Removal of this case is proper under 28 U.S.C. §1441 (a), which authorizes removal

of “any civil action brought in a State court of which the district courts of the United States have

original jurisdiction.”

        11.     Plaintiffs allege that the University and the Trustee Defendants have violated the

University’s internal governance documents relating to the University’s federally mandated

charter. See Amended Complaint, Exh. A at ¶¶ 51-64. As a result, this Court has subject matter

jurisdiction over this matter both because Plaintiffs’ claims arise under the laws of the United

States and because Plaintiffs’ claims raise a substantial federal question.

                               “ARISING UNDER” JURISDICTION

        12.     As the United States Supreme Court has recognized, the internal affairs of an entity

are governed by the laws of the jurisdiction that grants that entity its existence. See, e.g., CTS

Corp. v. Dynamics Corp. of Amer., 481 U.S. 69, 90 (1987) (the “free market system depends at its

core upon the fact that a corporation—except in the rarest situation—is organized under and

governed by, the law of a single jurisdiction, traditionally the corporate law of the State of

incorporation”); Edgar v. MITE Corp., 457 U.S. 624, 625 (1982) (internal affairs doctrine applies

to “matters peculiar to the relationships among or between the corporation and its current officers,

directors, and shareholders, are a corporation’s internal affairs governed by the law of the place of

incorporation.”). The internal affairs doctrine is not merely a discretionary judicial rule, but an




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affirmative constitutional requirement. See, e.g., Salzberg v. Sciabacucchi, 227 A. 3d 102, 128

(Del. 2020).

        13.     In this instance, the internal affairs of the University are governed by its federal

charter and its federally authorized bylaws. These internal governance documents constitute

federal law. See, e.g., K.V. Mart Co. v. United Food and Com. Workers, Int’l, 173 F. 3d 1221,

1225 (9th Cir. 1999) (“federally chartered corporations are . . . entirely defined by federal law.”).

        14.     For example, the University is explicitly contemplated as a direct line item in the

Department of Education (DOE) Budget Summary, beyond receiving general federal education

funding under various DOE programs. See Exh. H, U.S. Department of Education Fiscal Year

2023 Budget Summary at 59. Other internal processes for the University are also federally

codified. See 20 U.S.C. § 121 et seq. These facts further exemplify how federal law governs the

University’s internal affairs.

        15.     Because Plaintiffs are seeking a declaration of the interpretation of governance

documents created and governed by federal law, and because Plaintiffs’ claims concern the internal

affairs of a federally chartered institution, their claims necessarily arise, on their face, under federal

law.

                   “SUBSTANTIAL FEDERAL QUESTION” JURISDICTION

        16.     Additionally, this Court has subject matter jurisdiction over this matter because

Plaintiffs’ claims necessarily raise substantial and disputed questions of federal law. See generally

District of Columbia v. Grp. Hospitalization and Med. Servs.., 576 F. Supp. 2d 51 (2008) (claims

arising from the governance documents of a federally-charted entity raised a substantial federal

question and thereby are subject to federal matter jurisdiction).




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       17.     A complaint bringing state-law claims is removable based on 28 U.S.C §§ 1331

and 1441 if those claims “implicate significant federal issues.” See Grable & Sons Metal Prods.,

Inc. Darue Eng’g & Mfg., 545 U.S. 308, 312 (2005). “[A] federal court ought to be able to hear

claims recognized under state law that nonetheless turn on substantial questions of federal law.”

Id.

       18.     Here, Plaintiffs’ claims necessarily present substantial questions of federal law

arising from the interpretation of the University’s federal charter and of the bylaws adopted

pursuant to that federal charter.

       19.     The First Count of Plaintiffs’ Amended Complaint alleges that the Trustee

Defendants violated the University’s bylaws in multiple ways. See Exh. A at ¶26 (identifying

votes by the Board of Trustees that allegedly violated the University’s bylaws); ¶81 (alleging that

Plaintiffs’ claims are “rooted” in the alleged violation by the [Board of Trustees] of its bylaws. .

.”; ¶¶82, 86 (alleging violations of various bylaw provisions). Resolving those claims necessarily

will require the Court to apply federal law by interpreting the University’s federal charter.

       20.     The First Count also seeks to have a provision of the University’s current bylaws—

bylaws adopted pursuant to and authorized by the University’s current federal charter—declared

invalid. See id. at pages 24-25. Again, this claim will require the Court to apply and construe a

federal charter and bylaws governed by federal law.

       21.     The Second Count of Plaintiffs Amended Complaint is derivative of the First Count

and alleges that the Trustee Defendants breached their alleged fiduciary duties to the University

by taking the supposedly illegal actions alleged in the First Count. See, e.g., id. at ¶¶95 (“the

trustees’ actions clearly violated then applicable by-laws”); 98 (amendment of bylaws constituted

breach of fiduciary duties). To determine whether the Trustee Defendants have breached their



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fiduciary duties, the Court must first determine whether there has been any violation of either the

University’s federal charter or its federally-authorized bylaws.

         22.    Thus, both counts of the Amended Complaint require the Court to decide disputed

and substantial issues of federal law – namely, the interpretation of the University’s bylaws and

the authority provided to the Board of Trustees by the University’s federal charter with respect to

the conduct of meetings and the adoption of bylaws.

         23.    The disputed federal issues regarding construction of the University’s charter and

bylaws are substantial because they concern the core mission and governance of an entity that

Congress created by the grant of a special charter.

         24.    Because a limited number of institutions of higher learning have been created by

Congress, and because no state has an interest in the internal affairs of a federally chartered

institution, the Court’s assertion of jurisdiction would not disturb the federal-state balance-of-

power.

                                PROCEDURAL REQUIREMENTS

         25.    For the foregoing reasons, this Court has jurisdiction over this matter based on

federal question jurisdiction and this action may be removed to this Court pursuant to 28 U.S.C.

§§ 1331 and 1441.

         26.    Under 28 U.S.C. § 1446 (b), this Notice of Removal must be filed within 30 days

of service on each of the Defendants’ Complaint and Summons. Service was effected on March

2, 2022 and this Notice of Removal is timely filed.

         27.    Pursuant to 28 U.S.C. § 1446 (a), copies of all process, pleading and other papers

received by Defendants are attached hereto as Exhibits D, E, F, and I.




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       28.     Pursuant to 28 U.S.C. § 1446 (d), a copy of this Notice of Removal is being

contemporaneously filed with the Clerk of the State Court.

       29.     Defendants will serve this Notice of Removal on counsel for the Plaintiffs: Donald

M. Temple, Esq., 1310 L Street, N.W. Suite #750, Washington, D.C. 20005.

       30.     Venue is proper in this District pursuant to 28 U.S.C. § 1441 (a) because this district

embraces the place where the State Court Action is pending.

       31.     By filing this Notice of Removal, Defendants do not waive any defense which may

be available to them. Defendants respectfully reserve the right to amend or supplement this Notice

of Removal.

       WHEREFORE, Defendants respectfully notice that this action, pending in the State Court,

is hereby removed therefrom to this Court and that further proceedings in this action be conducted

exclusively in this Court as provided by law.


Respectfully submitted this 31 day of March, 2022,




                                                      /s/ Lillian S. Hardy
                                                      Lillian S. Hardy (D.C. Bar No. 991282)
                                                      J.A. Sagar (D.C. Bar No. 1720535)
                                                      (notice of appearance forthcoming)
                                                      Toccara M. Nelson (D.C. Bar No. 1671708)
                                                      (notice of appearance forthcoming)
                                                      HOGAN LOVELLS US LLP
                                                      Columbia Square
                                                      555 Thirteenth Street, NW
                                                      Washington, DC 20004-1109
                                                      Tel.: (202) 637-5600
                                                      Fax: (202) 637-5910
                                                      lillian.hardy@hoganlovells.com
                                                      jo-ann.sagar@hoganlovells.com
                                                      toccara.nelson@hoganlovells.com



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                               Lauren S. Colton (of counsel)
                               Scott R. Haiber (of counsel)
                               HOGAN LOVELLS US LLP
                               100 International Drive, Suite 2000
                               Baltimore, MD 21202
                               Tel.: (410) 659-2700
                               Fax: (410) 659-2701
                               lauren.colton@hoganlovells.com
                               scott.haiber@hoganlovells.com

                               Attorneys for Defendants




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